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 4                              UNITED STATES DISTRICT COURT
 5                                  DISTRICT OF NEVADA
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     KENTRELL D. WELCH,
 7                                                    Case No.: 2:19-cv-01243-APG-NJK
            Plaintiff,
 8                                                                 ORDER
     v.
 9
     LIGGETT, et al.,
10
            Defendants.
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12         Due to conflicting duties of the Court, the January 20, 2021, hearing is hereby
13 CONTINUED to 1:30 p.m. on January 29, 2021. As Plaintiff is currently housed in Ely State
14 Prison, the Attorney General’s Office is INSTRUCTED to coordinate with the undersigned’s
15 courtroom deputy, Ari Caytuero, at 702-464-5566, to facilitate Plaintiff’s video conference
16 appearance at the hearing.
17         IT IS SO ORDERED.
18         DATED: January 12, 2021.
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                                            NANCY J. KOPPE
20                                          UNITED STATES MAGISTRATE JUDGE

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